Case 1:09-cv-00597-LMB-TCB Document 78 Filed 12/10/09 Page 1 of 7 PageID# 1185



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

 INTERSECTIONS, INC., et al.                    )
                                                )
                Plaintiffs,                     )
                                                )
 v.                                             )       Case No. 1:09-CV597 (LMB/TCB)
                                                )
 JOSEPH C. LOOMIS, et al.                       )
                                                )
                Defendants.                     )

     DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO COMPEL
 DISCOVERY, FOR LIMITED RELIEF FROM THE OCTOBER 30, 2009 ORDER, AND
      TO EXTEND THE DISCOVERY PERIOD FOR A LIMITED PURPOSE

        Defendants Joseph C. Loomis and Jenni M. Loomis (collectively, the “Defendants”) by

 and through counsel, respectfully submits this Reply in Support of Their Motion to Compel, for

 Limited Relief, and to Extend Discovery.

                                            ARGUMENT

 I.     Plaintiff’s Pattern of Improperly Withholding and Redacting Documents Based on
        Invalid Claims Warrants an Extension of the Discovery Deadline.

        Plaintiff’s Opposition (Docket No. 76 at 8-10) mischaracterizes Defendant’s objection to

 Plaintiff’s flawed privilege redactions. Plaintiff acknowledges that many or possibly all of its

 initial TIFF file redactions failed to effectively redact text from the underlying native format files

 or their metadata. (Id. at 9.) When Defendants discovered that there may be a problem with

 Plaintiff’s redactions, they immediately notified Plaintiff and contacted the ethics hotline of the

 Virginia State Bar. However, in the context of discovering the defective redactions, Defendants

 encountered the text of a small number of items that Plaintiff had redacted and designated as

 privileged that simply do not satisfy the elements of the attorney-client privilege. Based on their

 review of these few documents, Defendants have reason to believe that numerous other
Case 1:09-cv-00597-LMB-TCB Document 78 Filed 12/10/09 Page 2 of 7 PageID# 1186



 documents designated as privileged simply are not privileged. In addition, Defendants

 discovered numerous documents that appeared to be redacted. As such, the issue raised by

 Defendants is not about whether Plaintiff corrected the technical defect that allowed redacted

 materials to be viewed by Defendants; rather, the issue raised by Defendants concerns Plaintiff’s

 general overuse of claims of privilege, Plaintiff’s overbroad redactions, and Plaintiff’s

 production of a privilege log that does not provide Defendants with sufficient information to

 evaluate Plaintiff’s claims of privilege.

        Plaintiff’s privilege log contains 672 entries. (Ex. A). Only a small number of these

 entries were actually produced in redacted form; the majority of them have been completely

 withheld. Most of these non-produced items are described as an “email chain” which indicates

 that there are several documents lumped together. From the face of the privilege log, it appears

 that the mere fact that Plaintiff’s in-house counsel Chris Cwalina was included or copied on a

 given e-mail chain renders that document Privileged in Plaintiff’s opinion. Dozens of

 purportedly privileged documents all contain identical description, such as “Email chain

 prepared at the request of counsel concerning NEI investigation,” which are so vague and

 conclusory, Defendants have no way to evaluate the legitimacy of Plaintiff’s privilege claims.

        Pursuant to Fed. R. Civ. P. 26(b)(5), a party objecting to production based on attorney-

 client privilege or the work product doctrine shall “describe the nature of the documents,

 communications, or tangible things not produced or disclosed — and do so in a manner that,

 without revealing information itself privileged or protected, will enable other parties to assess the

 claim.” See United States v. KMPG, LLP, 237 F. Supp. 2d 35, 38 (D.D.C. 2002) (“The essential

 function of a privilege log is to permit the opposing party, and ultimately the court, to evaluate a

 claim of privilege.”). Under Rule 26(b)(5), the party asserting the privilege has the burden of




                                                  2
Case 1:09-cv-00597-LMB-TCB Document 78 Filed 12/10/09 Page 3 of 7 PageID# 1187



 establishing that privilege exists, and “[m]ere conclusory or ipse dixit assertions of privilege are

 insufficient to satisfy this burden.” In re Pfohl Bros. Landfill Litig., 175 F.R.D. 13, 20

 (W.D.N.Y. 1997) (citing United States v. Kovel, 296 F.2d 918, 923 (2d Cir. 1961)). In the

 context of e-mails with in-house corporate counsel, privilege only extends to the corporate

 “control group” or to communications with key employees that satisfy the Upjohn “subject

 matter test.” See Upjohn Co. v. United States, 449 U.S. 383 (1981).

        In the instant case, Plaintiff has failed to meet its burden of proving that its redacted and

 withheld documents are privileged. The privilege log is comprised of largely of conclusory and

 generalized claims of privilege. Plaintiff’s privilege log does not identify the relationship

 between the parties to the communication, the nature of the legal advice being sought, whether

 the communication was maintained as confidential, or how the parties to the communication fall

 within the corporate control group or satisfy the Upjohn subject matter test.

 II.    Because the Plaintiffs have Unreasonably Refused to Cooperate with Defendants
        Regarding Christopher Loomis’s Deposition, the Court Should Grant Defendants
        Limited Relief from the October 30, 2009 Order.

         Defendants’ motion for limited relief from the October 30, 2009 Order is based upon the

 fact that Defendants have made every effort, in good faith, to cooperate with Plaintiff in

 resolving this issue and Plaintiff has unreasonably refused to reciprocate. Instead, in an

 opportunistic bid to exclude Christopher’s testimony at trial, Plaintiff, in bad faith, rejected all

 viable alternatives.

        Due to previously scheduled Thanksgiving holiday travel plans, Christopher Loomis

 (“Christopher”) was unable to attend his Monday, November 30, 2009 deposition which was

 relocated to Virginia from Arizona. Plaintiffs were informed of this fact at least a week before

 the scheduled deposition date and Plaintiffs were presented with various alternatives which were




                                                    3
Case 1:09-cv-00597-LMB-TCB Document 78 Filed 12/10/09 Page 4 of 7 PageID# 1188



 each practicable and convenient for Plaintiffs, the third party witness, and Defendants. First,

 despite the fact that Christopher was unable to travel to Virginia in time to make the Monday

 deposition, he was capable of appearing at Plaintiff’s Arizona office to participate via video

 conference. 1 Second, due to various cancellations of other depositions, a number of dates had

 become available whereby Christopher could travel to Virginia for his deposition. Two of the

 dates presented to Plaintiffs were December 1 and 2, the Tuesday and Wednesday immediately

 following the Monday on which Christopher’s deposition was originally scheduled. A third date

 presented to the Plaintiffs was December 10, 2009.

          Without offering any reason, whatsoever, Plaintiff rejected all workable alternatives and

 insisted that Christopher be present on November 30, 2009 in Virginia. Plaintiff offered no

 reason for its rejection then, and it offers no reason now.

          It is clear, by their tactics, both here and in their two motions for sanctions, that Plaintiff

 is oppressively using the Court’s October 30, 2009 Order to seek severe sanctions for minor,

 correctable, and non-prejudicial issues. The Order was originally intended as a shield to protect

 Plaintiff from the unwarranted threats and harassment from Defendants’ former counsel and to

 protect Plaintiff’s legitimate discovery interests in the case. (See Docket No. 47; Hr’g Tr.

 October 30, 2009). The irony is that Plaintiff now uses that same Order to threaten and harass

 Defendants’ current counsel with unwarranted motions for severe sanctions based on minor,

 quickly-correctable issues. For example, Plaintiff’s first motion for sanctions was based on

 approximately 60,000 missing TIFF images from Defendant’s document production. (Docket

 No. 51 at 3-4). The Plaintiff failed to meet and confer with the Defendants regarding the issue.

 (Docket No. 62 at 4-6). Had they done so, the parties would have quickly discovered that the


 1
  In the event that there was a last minute change, Christopher did in fact appear at Plaintiff’s Arizona office on
 Monday, November 30, 2009.


                                                            4
Case 1:09-cv-00597-LMB-TCB Document 78 Filed 12/10/09 Page 5 of 7 PageID# 1189



 missing TIFF images resulted from a defective DVD and the problem would have been quickly

 resolved. 2 By way of further example, Plaintiff’s second motion for sanctions is based on

 10,000 documents missing from Defendants’ production. (Docket No. 71 at 2). Again, Plaintiff

 failed to meet and confer with Defendants. (Docket No. 77 at 3-4). Had they done so, and as

 discussed more fully in Defendants’ opposition to Plaintiff’s second motion for sanctions, they

 would have known that the 10,000 missing documents were nothing more than blank pages

 erroneously and automatically generated when two Excel spreadsheets were converted to TIFF

 images. As is custom in these situations, these blank pages were removed from production as a

 courtesy to the Plaintiff.

          The situation here, concerning Christopher’s deposition, is no different. Without

 providing any reason for refusing, Plaintiffs rejected every viable, workable alternative presented

 to them. Each alternative provided Plaintiff with the opportunity to take Christopher’s

 deposition without traveling to Arizona, which was one of the ultimate goals and purposes of the

 Order. The Order does not give Plaintiff license to act unreasonably and choose severe sanctions

 over the prompt and non-prejudicial resolution of issues. Therefore, because Plaintiff acted in

 bad faith in refusing to resolve the issue concerning Christopher’s deposition, Defendants

 respectfully request the Court to grant its motion for limited relief from the October 30, 2009

 Order.

                                                 CONCLUSION

          For the reasons stated above, Defendants respectfully request the Court to grant their

 Motion to Compel Discovery, Extend the Discovery Period, for Limited Relief from the October

 30, 2009 Order, and to award them attorney’s fees and costs associated with their Motion.


 2
  The matter was, in fact, quickly resolved once Defendants gleaned sufficient information from the Plaintiff’s
 memorandum in support of its first motion for sanctions.


                                                          5
Case 1:09-cv-00597-LMB-TCB Document 78 Filed 12/10/09 Page 6 of 7 PageID# 1190



 Dated This 10th Day of December, 2009.




                                          Respectfully Submitted,

                                          JOSEPH C. LOOMIS and JENNI M. LOOMIS
                                          By Counsel

                                                         /s/
                                          Thomas M. Dunlap (VSB No. 44016)
                                          Ellis Bennett (VSB No. 71685)
                                          Phillip C. Chang (VSB No. 75741)
                                          DUNLAP, GRUBB & WEAVER, PLLC
                                          199 Liberty Street, SW
                                          Leesburg, Virginia 20175
                                          703-777-7319
                                          703-777-3656 (fax)
                                          tdunlap@dglegal.com
                                          ebennett@dglegal.com
                                          pchang@dglegal.com
                                          Counsel for the Defendants




                                            6
Case 1:09-cv-00597-LMB-TCB Document 78 Filed 12/10/09 Page 7 of 7 PageID# 1191



                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 10th Day of December, 2009, a true and correct copy of the

 foregoing Reply was filed and served using the Court’s CM/ECF system, which will then send a

 notice of electronic filing (NEF) to the following counsel of record for the Plaintiffs:

                                Tara Lee (VSB No. 71594)
                                Ryan C. Berry (VSB No. 67956)
                                DLA PIPER LLP (US)
                                1775 Wiehle Avenue, Ste. 400
                                Reston, Virginia 20190
                                Telephone: 703-773-4000
                                Facsimile: 703-773-5000
                                tara.lee@dlapiper.com
                                ryan.berry@dlapiper.com
                                Counsel for Plaintiffs

         And I hereby certify that I will electronically mail the documents to the following non-
 filing users:

                                David Clarke (admitted pro hac vice)
                                Michelle J. Dickinson (admitted pro hac vice)
                                Melissa R. Roth (admitted pro hac vice)
                                DLA PIPER LLP (US)
                                6225 Smith Avenue
                                Baltimore, Maryland 21209
                                Telephone: 410-580-3000
                                Facsimile: 410-580-3001
                                david.clarke@dlapiper.com
                                michelle.dickinson@dlapiper.com
                                melissa.roth@dlapiper.com
                                Counsel for Plaintiffs


                                                              /s/
                                               Phillip C. Chang (VSB No. 75741)
                                               DUNLAP, GRUBB & WEAVER, PLLC
                                               199 Liberty Street, SW
                                               Leesburg, Virginia 20175
                                               703-777-7319
                                               703-777-3656 (fax)
                                               pchang@dglegal.com
                                               Counsel for the Defendants
